Case 1:23-cv-07987-AS Document 30-2 Filed 01/31/24 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

GO GLOBAL RETAIL LLC Case No. 1:23-cv-07987-AS
Plaintiff, Filed Electronically
V. DECLARATION OF COUNSEL

IN SUPPORT OF
MOTION TO DISMISS THE COMPLAINT
PURSUANT TO RULE 12(B)(6)

DREAM ON ME, INDUSTRIES,
INC., and DREAM ON ME, INC.

Defendant.

JESSICA M. CARROLL, ESQ., certifies as follows:

1. I am an attorney-at-law of the State of New York and am admitted to practice in
this District. I am a partner at the law firm of Greenbaum, Rowe, Smith & Davis LLP, attorneys
for Defendants, Dream on Me Industries, Inc. and Dream On Me, Inc. (“DOM”), and as such, I
am familiar with the facts set forth herein.

2. I make this Declaration in support of DOM’s Motion to Dismiss the Amended
Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6).

3. All exhibits attached hereto are true and accurate copies of the originals.

4. In support of DOM’s Motion, attached as Exhibit A is a copy of the Amended
Complaint filed by Plaintiff, Go Global Retail LLC (Plaintiff), ECF No. 29.

5. In support of DOM’s Motion, attached as Exhibit B is a copy of the Order
Approving the Sale and Authorizing the Asset Purchase Agreement, entered on July 11, 2023, by
the United States Bankruptcy Court for the District of New Jersey, In re Bed Bath & Beyond, Inc.,
et al, Case No. 23-13359-VFP (Bankr. D.N.J. July 11, 2023), ECF No. 1314.

6. In support of DOM’s Motion, attached as Exhibit C is a copy of the Order

Approving the Auction and Bid Procedures, entered on April 25, 2023, by the United States
Case 1:23-cv-07987-AS Document 30-2 Filed 01/31/24 Page 2 of 2

Bankruptcy Court for the District of New Jersey, In re Bed Bath & Beyond, Inc., et al, Case No.

23-13359-VFP (Bankr. D.N.J. July 11, 2023), ECF No. 92.

GREENBAUM, ROWE, SMITH & DAVIS LLP
Attorneys for Defendant,
Dream On Me Industries, Inc.

Lalla

jpsom Carroll, Esq.

Dated: January 31, 2024
